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                    EXHIBIT A
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April 29, 2021

Dear Casey Littlejohn:

The following is in response to your request for proof of delivery on your item with the tracking number:
7020 0640 0002 0225 1199.

Item Details

Status:                                                 Delivered, Individual Picked Up at Postal Facility
Status Date / Time:                                     April 27, 2021, 8:01 am
Location:                                               MENLO PARK, CA 94025
Postal Product:                                         Priority Mail®
Extra Services:                                         Certified Mail™
                                                        Return Receipt Electronic
                                                        Up to $50 insurance included
Shipment Details

Weight:                                                 1lb, 3.0oz
Destination Delivery Address

Street Address:                                         1 HACKER WAY
City, State ZIP Code:                                   MENLO PARK, CA 94025-1456
Recipient Signature


                  Signature of Recipient:


                    Address of Recipient:

Note: Scanned image may reflect a different destination address due to Intended Recipient's delivery instructions on file.


Thank you for selecting the United States Postal Service® for your mailing needs. If you require additional
assistance, please contact your local Post Office™ or a Postal representative at 1-800-222-1811.

Sincerely,
United States Postal Service®
475 L'Enfant Plaza SW
Washington, D.C. 20260-0004
